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     Sandeep Singh (CSB 321995)
 1
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 6                                   UNITED STATES DISTRICT COURT

 7                                 NORTHERN DISTRICT OF CALIFORNIA

 8   UNITED STATES OF AMERICA,                              Case No.: 19-cr-486-CRB
 9
                    Plaintiff,                              MOTION, NOTICE OF MOTION, AND
10                                                          MEMORANDUM IN SUPPORT OF
            v.                                              DEFENDANT TERESA SU’S MOTION TO
11                                                          SEVER
     ROBERT ROWEN AND TERESA SU,
12                                                          Date: December 16, 2020
13                 Defendants.                              Time: 1:30 pm
                                                            Court: Hon. Charles R. Bryer
14
15
16          PLEASE TAKE NOTE that on December 16, 2020, at 1:30 pm, or as soon thereafter as the
17   matter may be heard before the above entitled Court, Defendant TERESA SU will and hereby does
18   move this Court for severance of her trial.
19          The motion is based on this notice and motion, the following memorandum of points and
20   authorities and accompanying exhibits, and Fifth and Sixth Amendments to the United States
21   Constitution, all other applicable constitutional, statutory and case authority, and such evidence and
22   arguments as may be presented at the hearing of this motion.
23                                                 INTRODUCTION
24          Dr. Teresa Su moves this court to sever her trial from that of her husband and co-defendant Dr.
25   Robert Rowen on the following grounds: a joint trial would prejudice Dr. Su because (1) she would not
26   be able to call Dr. Rowen as a witness, whereas at a separate trial, Dr. Rowen would testify in favor of
27   Dr. Su and provide substantially exculpatory evidence; and (2) the notorious and inflammatory nature of
                                                                                                           1
28
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 1   the evidence against Dr. Rowen, along with his contentious history with the IRS, would be highly
 2   prejudicial to Dr. Su.

 3                                                    FACTS

 4          Drs. Robert Rowen and Teresa Su are both charged with evading the payment of Robert Rowen’s

 5   taxes. There is no allegation that Dr. Su evaded her own taxes. A vast majority of the government’s

 6   evidence, and almost all the salient evidence, is against Dr. Rowen alone. Dr. Su played a minor and

 7   inevitable role in the alleged conduct, all of which can be explained as merely the consequence of her

 8   being married to Dr. Rowen, being a partner in a medical practice with him, and following his lead in the

 9   management of the couple’s finances. In fact, Dr. Rowen plans to testify as such at Dr. Su’s separate trial

10   if this motion is granted. Exhibit 1, Declaration of Dr. Rowen’s counsel.

11          Dr. Rowen, on the other hand, has a long and colorful history with the IRS and notoriety among

12   the followers of a movement which holds certain unconventional views of the tax system. He has even

13   co-authored a book on the subject: “They Own It All (Including You)!:By Means of Toxic Currency.”

14   https://www.amazon.com/They-Own-All-Including-You/dp/1439233616 (Accessed July 9, 2020). By all

15   accounts, Dr. Rowen is considered a leader figure in the movement and has a substantial media presence

16   online and in print. Notably absent from Dr. Rowen’s media persona is Dr. Su. There is no evidence that

17   she is involved in this movement.

18          In addition to Dr. Rowen’s readily available public statements, the government has produced

19   evidence which seems to allege that Dr. Rowen and a “Cast of Characters” held seminar(s) in the San

20   Francisco area promoting a “tax scheme.” Exhibit 2. There is virtually no evidence that Dr. Su was a part

21   of these seminars or participated in the promotion of any “tax schemes” although her name is also

22   mentioned in the IRS report along with Dr. Rowen’s, presumably because of her association by marriage.

23          In a joint trial, the jury may convict Dr. Su based on the evidence the government intends to offer

24   against Dr. Rowen – particularly evidence of his book, numerous videos on YouTube.com, and other

25   publicly available statements, all of which are admissible only against him.

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                                                                                                               2
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 1   Disparity in Key Evidence Against both Defendants.
 2             Dr. Rowen is alleged to owe the IRS $232,326 in back taxes – plus $1,319,409 in interest and

 3   penalties. The government alleges that with knowledge of these tax liabilities, Dr. Rowen took affirmative

 4   steps to evade their payment; and that Dr. Su aided him in that effort.

 5             The gravamen of the government’s case is that Dr. Rowen hid his assets from the government in

 6   two ways 1: (1) by setting up a nominee entity, which received his income, purchased gold with it, and

 7   delivered the gold to Dr. Rowen; and (2) by directing patients of the couple’s medical clinic to write

 8   checks (for medical services) to a gold dealer instead of the practice; the gold dealer subsequently sent

 9   Dr. Rowen the equivalent sums in gold.

10             Specific to Dr. Su, the government alleges the following “overt acts” which aided Dr. Rowen’s

11   alleged evasion of tax payment; 2

12         1. Dr. Su told patients to write checks for payment to a gold dealer instead of the medical practice
              (Par. 16 a.; Par. 20);
13
           2. Dr. Su filed an amended tax return with Dr. Rowen reporting a fake casualty loss (Par. 16 e.; Par.
14            20);
15         3. Dr. Su and Dr. Rowen sued the government in U.S. district court seeking a mandamus in one case
              (Par. 20), and seeking to compel the government to process amended tax returns in another (Par.
16
              16 f.);
17
           4. Dr. Su filed a “false” tax return claiming the property seized from Dr. Rowen in a tax levy was
18            her separate property 3 (Par. 16 g., 16 h., 16 k., and Par. 20);
19         5. Dr. Su asked a patient to cancel a check seized in a tax levy and to reissue another check (Par. 16
              i., Par. 20);
20
21
22
     1
       There are generally two types of ‘tax evasion:’ (1) where a taxpayer underreports his or her tax before
23   the tax is assessed, and (2) where a taxpayer evades the payment of taxes already assessed. This case
     involves the latter. Specifically, the government alleges that Drs. Rowen and Su, knowing that Dr.
24
     Rowen had an unpaid tax assessment, took affirmative steps to evade its payment.
25
     2
         Citations in this section refer to paragraphs in the Superseding Indictment filed January 16, 2020.
26
     3
       In March 2014, the IRS seized more than $700,000 in gold and silver coins from the couple’s primary
27   residence. The government deemed the entire amount seized to be Dr. Rowen’s property and
                                                                                                              3
28   accordingly applied all of it to his account. Dr. Su allegedly filed a tax return claiming a part of the
     seizure as her separate property and reporting the gain (auction value minus her basis).
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         6. Dr. Su filed “false” tax returns which falsely reported Dr. Rowen and Dr. Su’s respective share of
 1
            “income, deductions, and credits” from the partnership (Par. 16 l.; Par. 20);
 2
         7. Dr. Su made cash payments for her personal credit card, which included purchases for business
 3          expenses (Par. 16 m.; Par. 20);

 4          To support these allegations, the government has produced thousands of pages of documentary
 5   evidence as well as Memoranda of Interviews with potential witnesses, marked as US-00001 – US-44290.
 6   A vast majority of this evidence pertains to Dr. Rowen alone. For example, of the approximately thirty
 7   (30) Memoranda of Interviews of key witnesses produced by the government, almost none concern Dr.
 8   Su in any meaningful way. 4 Exhibit 3, Declaration of Counsel. Furthermore, the government produced
 9   thousands of pages of documents obtained from the couple’s CPA, Mark Payne, marked as US-33085 –
10   US-40620. These documents included dozens of emails between Dr. Rowen, his attorneys, and his CPA.
11   These emails show that virtually all of the communication concerning Dr. Su’s tax matters was with Dr.
12   Rowen alone. Dr. Su was not copied on any of the emails discussing the complained of tax matters. See
13   Exhibit 4. In fact, Dr. Su had no email communication with the CPA or the attorneys. She was not even
14   copied on any of the emails between Dr. Rowen and his CPA and attorneys.
15          For example, Dr. Su is accused of filing a false tax return claiming that the seized gold and silver
16   was her separate property, and not Dr. Rowen’s property. Superseding Indictment, Par. 16 g., 16 h., 16
17   k., and Par. 20. The evidence obtained by the government from the couple’s CPA, Mark Payne, shows
18   that Dr. Rowen alone directed the CPA to take this position on behalf of Dr. Su, and that Dr. Su had
19   nothing to do with this tax position. Exhibit 4. In this email chain between Dr. Rowen, his attorney
20   Moskowitz, and his CPA, Dr. Rowen is directing the CPA to allocate the seized property to Dr. Su, and
21   states that he is “NOT happy to evenly split the IRS seizure.” Notably absent from the email chain is Dr.
22   Su. In fact, almost all of the communication produced by the government concerning the couple’s joint
23   and separate tax issues was with Dr. Rowen alone. Dr. Su had no input, and was not copied on, any of
24
25
     4 There is some discussion of Dr. Su’s role in the medical practice in interviews of employees of the
26   practice. Further, one witness (a former patient of the practice) recalls that Dr. Su called her to “tell [her]
     about the [tax levy] incident.” US-9909. In the broader context, this witness appears to indicate that Dr.
27   Su called her to request reissuance of a seized check in the amount of $704. The remaining witness
                                                                                                                   4
28   statements were almost exclusively about Dr. Rowen.

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 1   the emails concerning her own or the medical practice’s tax matters. Exhibit 3. Mr. Payne’s witness
 2   statement to the government further supports this narrative. See Exhibit 5, Memorandum of Interview
 3   of Mark Payne. In pertinent part, Paragraph 27 of the interview memo reads:

 4          Regarding the seizure of gold coins and assets by the IRS in March of 2014, Payne’s initial
            draft presented the untitled assets as a 50-50% split between ROWEN and SU because of
 5          community property laws. [Rowen/Su’s tax attorney] Moskowitz did not like the 50% split
            and said the property was mostly Su’s. Payne relied upon ROWEN’s comments that the
 6          gold coins belonged to SU in order to prepare the 2014 tax returns for ROWEN and
 7          SU.
            (Emphasis supplied).
 8
            At Dr. Su’s separate trial, Dr. Rowen will testify and confirm the substance of these statements,
 9
     removing any doubt as to who was responsible for the complained of tax positions. Similarly, Dr.
10
     Rowen’s testimony will explain Dr. Su’s intent behind each of the other alleged ‘overt acts’ committed
11
     by Dr. Su. Specifically, his testimony would show either that Dr. Su was acting pursuant to his
12
     instructions and without knowledge of the tax consequences of her actions, or that there was otherwise a
13
     non-tax motive for her conduct.
14
            Lastly, evidence shared by the government suggests that Dr. Rowen is a leading figure in a
15
     movement which disputes the constitutionality of the tax system and the legitimacy of Federal Reserve
16
     Notes. As discussed supra, Dr. Rowen is the co-author of a book on the subject and allegedly promoted
17
     “tax schemes” in seminars held in San Francisco. The evidence produced by the government does not
18
     include any evidence of Dr. Su’s involvement in this movement.
19
                                                    ARGUMENT
20
            Under Rule 8(b) of the Federal Rules of Criminal Procedure, the government may charge two or
21
     more defendants in the same indictment if “they are alleged to have participated in the same act or
22
     transaction, or in the same series of acts or transactions, constituting an offense or offenses.” Fed. R.
23
     Crim. Pro. 8(b). Even where joinder is technically proper, Rule 14 gives the Court discretion to order
24
     separate trials if the joinder appears to prejudice a defendant. Fed. R. Crim. Pro. 14.
25
            The Ninth Circuit has held that “a district court should grant a severance under Rule 14 only if
26
     there is a serious risk that a joint trial would compromise a specific trial right of one of the defendants, or
27
     prevent the jury from making a reliable judgment about guilt or innocence…. [T]he determination [is5
28
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 1   left] to the sound discretion of the district courts.” United States v. Reese, 2F.3d 870, 891 (9th Cir. 1993)
 2   (quoting Zafiro v. United States, 1113 S.Ct. 933, 938-39 (1993)). However, “it is well established that in

 3   the federal system there is a preference for joint trials where the defendants have been jointly indicted”

 4   because joint trials “promote efficiency and serve the interests of justice by avoiding the scandal and

 5   inequity of inconsistent verdicts.” United States v. Hernandez-Orellana, 539 F.3d 994, 1001 (9th Cir.

 6   2008); Zafiro, 506 U.S. at 537).

 7                 1. Dr. Su’s Need for Exculpatory Evidence

 8          In this case, Dr. Su will be prejudiced by a joint trial because she will not be able to call Dr.

 9   Rowen as a witness, who is likely to assert his Fifth Amendment privilege against self-incrimination at

10   trial. Exhibits 1 and 3. Dr. Rowen otherwise intends to testify favorably for Dr. Su at a separate trial,

11   and his testimony would be substantially exculpatory. Id.

12          When the reason for severance is the need for a co-defendant’s testimony, the defense must show

13   that: (1) the co-defendant would be called as a witness at the severed trial; (2) the co-defendant would in

14   fact testify; and (3) the testimony would be favorable or exculpatory to the moving party. 5 United States

15   v. Pitner, 37 F.3d 1178, 1181 (9th Cir. 2002); United States v. Mariscal, 939 F.2d 884, 886 (9th Cir.

16   1991); United States v. Seifert, 648 F.2d 557, 563 (9th Cir. 1980) (trial court erred in refusing to sever

17   trials where defendant was “denied the right to present important exculpatory evidence”); United States

18   v. Reese, 2F.3d 870, 892 (9th Cir. 1993); United States v. Vigil, 561 F.2d 1316 (9th Cir. 1977) (holding

19   that trial court erred in refusing to sever trial, thereby depriving a co-defendant exculpatory evidence). A

20   co-defendant’s testimony is not “substantially exculpatory” if it refutes only portions of the government’s

21   case and leaves unaffected other evidence sufficient to convict. Mariscal 939 F.2d at 886. In deciding

22   whether to grant a motion for severance, the district court must consider the weight and credibility of the

23   proposed testimony and the economy of severance. United States v. Hernandez, 952 F.2d 1110, 1115 (9th

24   Cir. 1991).

25
26
27   5
       In addition, the movant has to show that the co-defendant’s testimony would not be cumulative; but
                                                                                                                  6
28   that is not at issue here.

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 1           In this case, Dr. Rowen intends to testify favorably for Dr. Su at a separate trial, but is unlikely
 2   to testify at a joint trial. Exhibit 1. The key parts of Dr. Rowen’s testimony would establish the following:

 3   Dr. Rowen managed the couple’s finances during their marriage, including Dr. Su’s separate finances;

 4   Dr. Rowen handled all matters pertaining to the couple’s taxes, including Dr. Su’s taxes; when Dr. Rowen

 5   instructed Dr. Su to engage in conduct complained of in the indictment, Dr. Su did not know she was

 6   violating any civil or criminal laws. For example, some of the complained of conduct (e.g. filing of

 7   lawsuits against the government and filing of “false” tax returns) was based on advice from the couple’s

 8   attorneys and tax representatives – with whom only Dr. Rowen communicated on the couple’s behalf.

 9   Thus, only he can testify as to Dr. Su’s then existing mental state and intentions. See Exhibit 1,

10   Declaration of Robert Rowen’s Counsel.

11          Dr. Rowen’s proffered testimony is corroborated by evidence shared by the government, which

12   shows Dr. Rowen solely communicating with the CPAs and tax attorneys on Dr. Su’s behalf, including

13   specifically discussing tax positions alleged to be ‘false’ in the Superseding Indictment, all by himself.

14   Dr. Su was not copied on any of these emails. There is little indication she even knew that Dr. Rowen

15   was taking the complained of position on her tax returns. Further, there is no indication she was involved

16   in the couple’s finances beyond performing ministerial duties at her husband’s direction.

17          In light of the foregoing, undersigned counsel intends to call Dr. Rowen, and possibly only Dr.

18   Rowen, at Dr. Su’s trial. Because the government’s allegations involve conduct which is not criminal per

19   se but requires specific intent, only Dr. Rowen’s testimony could establish that Dr. Su did not have the

20   requisite specific intent even if she did the things she is accused of. Dr. Rowen’s proffered testimony, if

21   believed by a jury 6, would exonerate Dr. Su even if there is no doubt she engaged in the complained of

22   conduct, because his testimony would negate any “willfulness” to aid in the evasion of taxes.

23
     6
       Whether Dr. Rowen’s testimony in favor of Dr. Su would be biased is for the jury to decide.
24
     Potentially biased testimony alone does not warrant denial of a severance motion. United States v.
25   McCord, 2016 WL 8669900 (citing United States v. Cobb, 185 F.3d 1193, 1197-1200 (11th Cir. 1999).
     The Court merely needs to find that the proffered evidence is not so incredible that no jury would give it
26   any weight. McCord at 8. In this case, in light of the government’s lack of overwhelming evidence
     against Dr. Su, a jury cannot discount an innocent explanation of her conduct. Further, government’s
27   own evidence corroborates Dr. Rowen’s proffered testimony that he alone handled the couple’s
                                                                                                              7
28   finances. See Exhibit 4.

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 1          Furthermore, Dr. Rowen’s testimony can establish that he convinced Dr. Su of the validity of the
 2   various unconventional tax theories he ardently believes in; and that Dr. Su, to the extent she knew of his

 3   actions, went along with it thinking the couple’s actions were legal, thus negating willfulness as alleged

 4   by the government. See Cheek v. United States, 498 U.S. 192 (1991). In sum, Dr. Rowen’s testimony

 5   would exonerate Dr. Su.

 6          In granting a motion for severance in United States v. Reyes, 2007 WL 963246, the Honorable

 7   Charles R. Bryer reasoned that “…an alleged co-conspirator is in a unique position to provide exculpatory

 8   testimony on behalf of another defendant.” That is precisely the case here. Dr. Su’s husband is in a unique

 9   position to provide testimony which would exonerate her. Thus Dr. Su’s motion for severance should be

10   granted.

11          Lastly, this case is neither long nor complex so considerations of judicial economy do not weigh

12   against severance.

13              …[J]udicial economy will always weigh against a severance because one trial is

14              always more economical than two. As such, that factor cannot become a talisman in

15              the severance analysis. Judicial economy becomes relevant where the exculpatory

16              value of the proffered testimony is marginal or cumulative of other evidence; where

17              the government’s proffered evidence of guilt is overwhelming; where the proffered

18              co-defendant’s testimony is so incredible that a jury would give it no or little weight;

19              and/or where the trials are expected to be long and/or complex.

20   United States v. McCord, 2016 WL 8669900.

21          In this case, the value of the proffered evidence is significant for Dr. Su. It in fact negates

22   “willfulness” – a necessary element of the crime. The government’s proffered evidence against Dr. Su is

23   insignificant and can be negated by Dr. Rowen’s testimony. As such, severance of trials appropriate.

24                2. Spillover Evidence

25          “[E]vidence of a codefendant’s wrongdoing in some circumstances erroneously could lead a jury

26   to conclude that a defendant was guilty.” Zafiro, 506 U.S. at 539. While a great disparity of evidence may

27   be sufficient to permit a severance in certain cases, the focus is on ‘whether the jury can reasonably be
                                                                                                               8
28
     U.S. v. ROBERT ROWEN, et al., 19-CR-486-CRB
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 1   expected to compartmentalize the evidence as it relates to separate defendants in light of its volume and
 2   limited admissibility.” U.S. v. Gains, 563 F.2d 1352, 1355 (9th Cir. 1977).

 3          In this case, there is a serious risk that the great disparity in evidence may lead to a prejudicial

 4   spillover effect. While the case is not complex, the colorful and highly inflammatory evidence against

 5   Dr. Rowen, particularly his involvement in the fringe tax movement and authorship of a book on the

 6   subject may lead a jury to weigh this evidence against Dr. Su. This risk is further amplified by the fact

 7   that Drs. Rowen and Su are married. A jury may view them as one joint unit and apply all evidence in

 8   the case against them both. See United States v. Garcia, 151 F.3d 1243, 1246 (9th Cir. 1998) (“[t]here

 9   can be no conviction for guilt by association”).

10          Furthermore, evidence of Dr. Rowen’s creation of a nominee entity to allegedly funnel over $3

11   million in dollars gold – and photographic evidence of gold being taken away in carts – would be highly

12   inflammatory and otherwise inadmissible against Dr. Su. Dr. Su had nothing to do with the nominee

13   entity and none of her income flowed through the nominee entity. Further, none of the gold seized

14   belonged to her and the government applied all of it to Dr. Rowen’s account.

15          A jury may not be able to compartmentalize the inflammatory evidence against Dr. Rowen.

16   Therefore, severance of trials is appropriate.

17                                                CONCLUSION

18          In light of the foregoing, Dr. Su respectfully requests that her trial be severed from Dr. Rowen’s.

19
20   Dated: September 8, 2020                             Respectfully submitted,

21
22
23
24
                                                          /s/ Sandeep Singh
25                                                        Sandeep Singh
                                                          Attorney for Dr. Teresa Su
26
27
                                                                                                               9
28
     U.S. v. ROBERT ROWEN, et al., 19-CR-486-CRB
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United States v. Rowen et al.


     Case No. 19-cr-486-CRB


                     Exhibit 1
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United States v. Rowen et al.


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                     Exhibit 2
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                     Exhibit 3
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5    Attorney for Defendant TERESA SU

6
                                     UNITED STATES DISTRICT COURT
7
                                   NORTHERN DISTRICT OF CALIFORNIA
8
     UNITED STATES OF AMERICA,                              Case No.: 19-cr-486-CRB
9

10                 Plaintiff,                               DECLARATION OF COUNSEL IN SUPPORT
                                                            OF DEFENDANT TERESA SU’S MOTION TO
11          V.                                              SEVER
12
     ROBERT ROWEN AND TERESA SU,                            Date: December 16,2020
13                                                          Time: 1:30 pm
                  Defendants.                               Court: Hon. Charles R. Bryer
14

15

16                                        DECLARATION OF COUNSEL

17         I, Sandeep Singh, declare as follows:

18      1. I am an attorney licensed to practice law in the State of California and the United States District
19
            Court, Northern District of California.
20
        2. I am the attorney ofrecord for Defendant, TERESA SU,in the above referenced matter.
21
        3. The jury trial date in this proceeding is scheduled for February 22,2021 with codefendants Dr.
22

23          Robert Rowen and Dr. Teresa Su.

24      4. At Dr. Su’s trial, I intend to call Dr. Robert Rowen to testify in favor of Dr. Su.

25      5. Based on my discussions with Dr. Rowen’s attorney, Marc X. Carlos, Dr. Rowen desires to
26
            testify at Dr. Su’s trial and would do so willingly. However, he is unlikely to testify at any trial
27
            in which he is a defendant.
28

                                                                                                                   1
     U.S. V. ROBERT ROWEN,et al., 19-CR-486-CRB
                                                                        U.S. v. Rowen et al, Exhibit 3
     Declaration of Counsel in Support Defendant Su’s Motion to Sever
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 1      6. In my professional judgement. Dr. Rowen’s testimony would be substantially exculpatory for

 2          Dr. Su.

 3      7. Dr. Rowen’s testimony is indispensable for Dr. Su because only he (Dr. Rowen)can testify as to
 4
            Dr. Su’s intent behind every conduct complained of in the Superseding Indictment. Without his
 5
            testimony, Dr. Su would not he able to establish that her conduct was not “willful.” With his
6
            testimony, Dr. Su can establish that she simply followed Dr. Rowen’s lead on all tax and
 7

 8          financial matters and was not fully aware of his tax situation.

 9          Disparity in Government’s Evidence Against Defendants

10      8. The government has provided defense with six compact disks(“CDs”)containing
11
            approximately 44,290 documents, which includes Jencks Act witness interview statement. I
12
            have personally reviewed all pertinent discovery material and believe that less than 10% of it
13
            pertains to Dr. Su. Furthermore, almost all of the thirty (30) Jencks Act witness interviews
14

15          shared by the government concern only Dr. Rowen. Only one Jencks Act witness statement

16          directly pertains to Dr. Su in that the witness, a former patient of Dr. Su, implies that Dr. Su

17
            called her requesting a stop-payment on a check in the amount of$704 seized by the
18
            government and requesting a new check.
19
        9. The government may also introduce evidence of Dr. Rowen’s publicly available statements
20
            regarding his unconventional views of tax laws, e.g. his book titled ""They own it all!(Including
21

22         you!): By Means ofToxic Currency,"and his numerous videos on the topic available on

23          YouTube.com. There is no such evidence available against Dr. Su to the best of my knowledge.

24
        10. The government has produced thousands of pages of records and communication obtained from
25
            Dr. Rowen/Dr. Su’s CPA, Mark Payne. I have personally reviewed a substantial sampling of the
26
            emails produced by the government. All of the email communication with Mr. Payne regarding
27

28          Dr. Su’s joint and separate tax matters is with Dr. Rowen alone - including emails discussing


                                                                                                                2
     U.S. V. ROBERT ROWEN,et ah, 19-CR-486-CRB

     Declaration of Counsel in Support Defendant Su’s Motion to Sever
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 1          tax position alleged to be “false” by the government. Dr. Su is not copied on the emails - even

 2          when the tax matters concerned her alone. A sample email chain, showing a discussion of Dr.

 3          Su’s taxes between Mr. Payne and Dr. Rowen is attached to the Motion to Sever as Exhibit 4.
 4
            Dr. Rowen’s Exculpatory Testimony.
 5
        11.1 have communicated with Dr. Rowen’s attorney, Mr. Marc X. Carlos. Based on my
 6
            communication with Mr. Carlos, I believe that Dr. Rowen will invoke his Fifth Amendment
 7

 8          privilege and decline to testify at a trial in which he is a defendant.

 9      12. However, Dr. Rowen is willing to testify at Dr. Su’s separate trial, regardless of the order of

10          trials. Based on my discussions with Mr. Carlos, and Mr. Carlos’ Declaration, it is my firm
11
            belief that Dr. Rowen’s testimony would be substantially exculpatory for Dr. Su.
12
        13. Dr. Rowen’s testimony would include the following in response to each factual allegation in the
13
            Superseding Indictment:
14

15            Allegation: Dr. Su helped Dr. Rowen conceal his assets.

16            Dr. Rowen’s Proffered Testimony: Dr. Rowen was in charge of the couple’s finances and

17
              tax compliance matters, including the filing of their partnership tax returns; Dr. Su was not
18
              fully aware ofthe extent of Dr. Rowen’s tax liabilities; and Dr. Su was largely uninvolved in
19
              the couple’s finances.
20

21

22            Allegation: Dr. Su helped Dr. Rowen evade his taxes by filing joint partnership tax returns

23            which were false.

24
              Dr. Rowen’s Proffered Testimony: Dr. Rowen exclusively dealt with all tax return
25
              preparers and other tax professionals in meeting the medical practice’s tax requirements and
26
              their personal income tax compliance requirements. Dr. Su was uninvolved and uninterested
27
              in the partnership tax matters and her own tax matters.
28


                                                                                                              3
     U.S. V. ROBERT ROWEN,et ah, 19-CR-486-CRB

     Declaration of Counsel in Support Defendant Su’s Motion to Sever
                                                                        U.S. v. Rowen et al, Exhibit 3
             Case 3:19-cr-00486-CRB Document 46 Filed 10/05/20 Page 25 of 51



 1             Allegation: Dr. Su, along with Dr. Rowen, filed two lawsuits against the United States

 2            related to their tax matters, intending to impede the collection oftaxes.

 3            Dr. Rowen’s Proffered Testimony: Dr. Rowen was solely responsible for the filing of
 4
              lawsuits against the government on the couple’s behalf; and Dr. Su was not fully aware of
 5
              their substance.
 6

 7

 8            Allegation: Dr. Su falsely claimed that property seized from the couple’s home pursuant to a

9             tax levy was her separate property, and not marital property.

10
              Dr. Rowen’s Proffered Testimony: Dr. Rowen was solely responsible for communicating
11
              with tax professionals to seek their advice on the tax positions taken. It was Dr. Rowen who
12
              took this position pursuant to advice from a prominent San Francisco Tax Law firm - with
13
              whom Dr. Rowen exclusively communicated on the couple’s behalf
14

15

16            Allegation: Dr. Su instructed patients of their medical practice to write checks payable to

17
              their “gold dealers” instead of the practice.
18                                                                                                          99
              Dr. Rowen’s Proffered Testimony: Dr. Rowen insisted on transacting in “lawful money,
19
              which he believes is gold, and not currency. Dr. Rowen believes currency to be “toxic” and a
20
              means of controlling the population. Dr. Su simply followed his instructions in instructing
21

22            patients to write checks to the gold dealers and had no tax motive in so doing.

23

24
              Allegation: Dr. Su made cash payments for credit card bills.
25
              Dr. Rowen’s Proffered Testimony: it was the medical practice’s standard practice to pay
26
              certain bills with cash, in order to quickly dispense with “toxic” currency, and there was no
27

28            tax motive in so doing.


                                                                                                                 4
     U.S. V. ROBERT ROWEN,et ah, 19-CR-486-CRB

     Declaration of Counsel in Support Defendant Su’s Motion to Sever
                                                                      U.S. v. Rowen et al, Exhibit 3
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 1

 2             Allegation: Dr. Su instructed at least one patient to cancel a check seized by the government

 3             in a tax levy and to reissue a new check.
 4
               Dr. Rowen’s Proffered Testimony: Dr. Rowen had hired a law firm, Wall & Associates
 5
               Ine., who had a pending case with the IRS to resolve his tax debts. He believed that the tax
6
               levy was illegal because there was an active case regarding the tax liability, and that he
 7

 8             eonvinced Dr. Su that levy was not lawful. He further instructed Dr. Su to contact the patient

9              to request a new check.

10       14. The above statements are paraphrased from Dr. Rowen’s proffered testimony in Mr. Carlos
11
            Declaration, attached to the Motion to Sever as Exhibit 1, as well as from my understanding of
12
            his testimony after discussions with his counsel.
13
        15. In my professional judgment. Dr. Rowen will have no basis to resist testifying at Dr. Su’s trial if
14

15          he is either acquitted or convieted at trial.

16          I declare under penalty of perjury that the foregoing is true and correct and if called as a witness,

17   I could and would competently testify thereto.
18

19
            Executed on this 10* day of September, 2020,in Walnut Creek, California.
20

21

22

23          Dated:
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24
                                                                Attorney for Defendant Dr. Su
25

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     U.S. V. ROBERT ROWEN,et ah, 19-CR-486-CRB
                                                                       U.S. v. Rowen et al, Exhibit 3
     Declaration of Counsel in Support Defendant Su’s Motion to Sever
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United States v. Rowen et al.


     Case No. 19-cr-486-CRB


                     Exhibit 4
                                                         Case 3:19-cr-00486-CRB Document 46 Filed 10/05/20 Page 28 of 51


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 4   Fax: (925) 322-6216
 5   sandeep@stonebridgecounsel.com
     Attorney for Defendant TERESA SU
 6
 7
                               UNITED STATES DISTRICT COURT
 8
                              NORTHERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                     Case No.: 19-cr-486-CRB
11
                 Plaintiff,
12
13
           v.

14   ROBERT ROWEN AND TERESA SU,
                                                   [PROPOSED] ORDER
15
                 Defendants.
16
17
18         The Court having considered Defendant Teresa Su’s Motion for Severance, the
19
     government’s Opposition thereto, and any reply submitted in support thereof, IT IS
20
21   HEREBY ORDERED that Defendant Teresa Su’s Motion is GRANTED and her trial is
22
     severed from co-defendant ROBERT ROWEN.
23
           AND IT IS SO ORDERED
24
25
26
     Date:____________                                 ______________________
27                                                     Honorable Charles R. Bryer
28                                                     United States District Court Judge

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     U.S. v. ROBERT ROWEN, et al., 19-CR-486-CRB
     [PROPOSED] ORDER
            Case 3:19-cr-00486-CRB Document 46 Filed 10/05/20 Page 51 of 51



 1                                CERTIFICATE OF SERVICE

 2
 3
           Counsel for TERESA SU hereby certifies that on this date copies of the attached
 4
 5   documents were served on all parties of this case.
 6         I declare under the penalties of perjury under the laws of the State of California
 7
     that the foregoing is true and correct
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10
           Executed on_______________, 2020, at Walnut Creek, California.
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13                                                        __/s/ Sandeep Singh_______
14                                                        Sandeep Singh

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     U.S. v. ROBERT ROWEN, et al., 19-CR-486-CRB
